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                                    #:58


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12                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
13                           WESTERN DIVISION
14
15    C&M PHARMACY INC., d/b/a                 Case No. 2:25-cv-1099
      PARVIN’S PHARMACY & KATZ
16    PHARMACY, on behalf of itself and        PLAINTIFF’S NOTICE OF
17    all others similarly situated,           RELATED CASES

18                      Plaintiff,             Jury Trial Demanded
19
            v.
20
21    GOODRX, INC.; GOODRX
      HOLDINGS, INC.; CAREMARK,
22    L.L.C.; EXPRESS SCRIPTS, INC.;
23    MEDIMPACT HEALTHCARE
      SYSTEMS, INC.; and NAVITUS
24    HEALTH SOLUTIONS, LLC,
25
                        Defendants.
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      NOTICE OF RELATED CASES                                 CASE NO. 2:25-CV-1099
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                                      #:59


 1         Plaintiff C&M Pharmacy Inc., d/b/a Parvin’s Pharmacy & Katz Pharmacy
 2   (“Plaintiff”), hereby files this Notice of Related Cases under Central District of
 3   California Local Rule 83-1.3.
 4         This case involves substantially the same subject matter as another action
 5   pending in this district, brought by Plaintiff Keaveny Drug, Inc., on behalf of itself
 6   and a class of those similarly situated. The related action is captioned Keaveny Drug,
 7   Inc. v. GoodRx, Inc., 2:24-cv-9379, filed October 30, 2024, and is pending before the
 8   Honorable Sherilyn Peace Garnett and the Honorable Steve Kim.
 9         Under Local Rule 83-1.3.1, actions are related if they appear:
10         (a)    Arise from the same or a closely related transaction, happening, or
11                event;
12         (b)    Call for determination of the same or substantially related or similar
13                questions of law and fact; or
14         (c)    For other reasons would entail substantial duplication of labor if heard
15                by different judges.
16         The related action is a class action seeking damages and injunctive relief
17   against GoodRx, Inc.; GoodRx Holdings, Inc.; Caremark, L.L.C.; Express Scripts,
18   Inc.; MedImpact Healthcare Systems, Inc.; and Navitus Health Solutions, LLC. It
19   alleges that the defendants violated section 1 of the Sherman Antitrust Act, 15 U.S.C.
20   § 1. This action is related: it brings the same cause of action based on largely the
21   same price-fixing scheme. The two cases arise from the same or closely related
22   transactions and call for the determination of many of the same or substantially
23   related legal and factual questions.
24

25    DATED: February 7, 2025                 Respectfully submitted,
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                                              PRITZKER LEVINE LLP
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                                              By: /s/ Elizabeth C. Pritzker
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      NOTICE OF RELATED CASES                                      CASE NO. 2:25-CV-1099
Case 2:25-cv-01099-ODW-DFM   Document 5     Filed 02/07/25   Page 3 of 4 Page ID
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      NOTICE OF RELATED CASES                                 CASE NO. 2:25-CV-1099
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 1                                 PROOF OF SERVICE
 2         I hereby certify that on February 7, 2025, I caused to be electronically filed the
 3   foregoing document NOTICE OF RELATED CASES with the Clerk of the Court
 4   using the ECF system which sent notification of such filing to all counsel of record.
 5

 6
                                             /s/ Elizabeth C. Pritzker
 7                                           Elizabeth C. Pritzker
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      NOTICE OF RELATED CASES                                    CASE NO. 2:25-CV-1099
